           Case 2:06-cr-00495-MCE Document 90 Filed 11/13/09 Page 1 of 4


1    MICHAEL B. BIGELOW
     Attorney at Law
2    State Bar No. 65211
     428 J Street, Suite 350
3    Sacramento, CA 95814
     Telephone: (916) 443-0217
4
     Attorney for Defendant
5    Janelle Miller
6                      IN THE UNITED STATES DISTRICT COURT
7               IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9    UNITED STATES OF AMERICA,         )   Case No. Cr.S-06-495 MCE
                                       )
10              Plaintiff,             )   AMENDED STIPULATION AND ORDER
                                       )   CONTINUING STATUS CONFERENCE
11        vs.                          )   Date: December 10, 2009
                                       )   Time: 9:00 AM
12                                     )   Court: MCE
     JANELLE MILLER,                   )
13                                     )
                                       )
14                                     )
                Defendant
                                       )
15

16
          The defendant set forth above is charged with distribution
17
     of cocaine base and related charges and at the present time, is
18
     facing a minimum mandatory ten years to life imprisonment. Her
19

20   co-defendant has pled guilty and been sentenced. Ms. Miller is

21   on pretrial release.

22        There are issues in this case relating to Ms. Miller’s

23   comparative involvement and the amount of contraband

24   attributable to her under the Guidelines which have yet to be
25




                                        -1-
             Case 2:06-cr-00495-MCE Document 90 Filed 11/13/09 Page 2 of 4


1    resolved and the parties are working to foster resolution short
2    of trial.
3
            Accordingly, it is hereby stipulated by the parties that
4
     the status conference in this matter, which is scheduled for
5
     November 19, 2009, be continued to Thursday, December 10, 2009
6
     at 9:00 AM for entry of plea or setting of jury trial.
7
            I declare under penalty of perjury that the foregoing is
8
     true and correct.
9
            Signed at Sacramento, California on October 12, 2009.
10

11

12                                /S/MICHAEL B. BIGELOW
                                  Michael B. Bigelow
13                                Attorney for Defendant, Miller

14
                                     STIPULATION
15
            It is hereby stipulated by and between the parties through
16
     their respective counsel that the status conference in the
17
     above-entitled case presently set for Thursday, November 19,
18
     2009 at 9:00 a.m. be continued without appearance, for the
19

20   reasons set forth above, to Thursday, December 10, 2009 at 9:00

21   a.m.

22          The parties further stipulate that time included in this

23   continuance be excluded pursuant to Speedy Trial Act, 18 U.S.C.

24   Section 3161(h)(7)(B)(ii) and (iv)(Local Codes T2 and T4)
25   through December 10, 2009 due to complexity of the case and in



                                          -2-
           Case 2:06-cr-00495-MCE Document 90 Filed 11/13/09 Page 3 of 4


1    the interest of justice to allow the defense time to further
2    prepare for trial and negotiate resolution, if possible.
3

4
     /S/ JASON M. HITT, Esq.                      November 1, 2009
5    Jason Hitt,
     Assistant United States Attorney
6    Counsel the United States

7    /S/ MICHAEL BRADY BIGELOW, Esq.              November 1, 2009
     Michael B. Bigelow
8    Counsel for Janelle Miller

9

10

11
                                      ORDER
12
          GOOD CAUSE APPEARING and upon the stipulation of the
13
     parties,
14
          IT IS HEREBY ORDERED that the status conference in the
15
     above entitled case, presently scheduled for Thursday, November
16
     19, 2009, be continued without appearance December 10, 2009 at
17
     9:00 a.m.
18
     DATED: November 12, 2009
19

20                                 __________________________________
                                   MORRISON C. ENGLAND, JR
21                                 UNITED STATES DISTRICT JUDGE

22

23

24

25




                                        -3-
           Case 2:06-cr-00495-MCE Document 90 Filed 11/13/09 Page 4 of 4


1

2         It is further ordered that time be excluded through

3    December 10, 2009 pursuant to the Speedy Trial Act exclusion
4    sections set forth in the stipulation above.
5
     IT IS SO ORDERED.
6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25




                                        -4-
